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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COURT OF APPEALS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SECOND
DISTRICT OF TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FORT
WORTH

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO.
2-09-278-CV

&nbsp;

&nbsp;

IN THE MATTER OF A.C.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FROM
THE 323RD DISTRICT COURT OF TARRANT COUNTY

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM OPINION[1]

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

I.&nbsp;
Introduction

In
four issues, Appellant A.C. appeals the trial court=s
decision to commit her to the Texas Youth Commission (TYC).&nbsp; We affirm.

II.&nbsp;
Procedural History








The
State charged that, on or about March 23, 2009, A.C. engaged in delinquent
conduct by intentionally or knowingly threatening D.H. with imminent bodily
injury and using or exhibiting a deadly weapon (scissors).&nbsp; See Tex. Family Code Ann. '&nbsp;51.03(a)(1)
(Vernon Supp. 2009) (defining delinquent conduct); Tex. Penal Code Ann. '&nbsp;22.02(a)(2)
(Vernon Supp. 2009) (defining aggravated assault).&nbsp; Because A.C. was not yet sixteen years old at
the time, she was tried as a juvenile.&nbsp; See
Tex. Fam. Code Ann. '&nbsp;51.02(2)(A) (Vernon
Supp. 2009) (defining Achild@ as
a person who is ten years of age or older and under seventeen years of age); see
also id. '&nbsp;51.01
(Vernon 2008) (explaining purpose of juvenile justice code). 

A.C.
waived a jury trial and agreed to stipulate to the evidence, which included the
following:

$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
A.C.
was fifteen years old and D.H. was fourteen years oldCthey were two middle
school students in the same class; 

&nbsp;

$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Their
dispute began weeks before, but the March 23, 2009 argument involved a MySpace[2]
post by A.C. in which she asserted that D.H. was afraid to meet her so they
could fight; 

&nbsp;

$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Other
students in the classroom where the incident occurred heard A.C. threaten to
stab D.H., tell D.H. that if D.H. hit her, A.C. would stab her, and tell D.H.
that she was going to die; 

&nbsp;

$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Their
argument escalated to the point that the teacher had asked another student to
get a campus monitor;

&nbsp;

$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
A.C.
grabbed a pair of scissors from a classroom work station and stabbed D.H.
multiple times in the chest; 

&nbsp;

$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
A
campus monitor and an assistant principal had to pull A.C. away from D.H.; 

&nbsp;








$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
D.H.
suffered multiple stab wounds to her chest area, shoulder, and arms and had to
be transported to Cook Children=s Hospital for
surgery; and

&nbsp;

$&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The investigating police detective would
testify that based on the case=s
facts and her experience as a police officer, the scissors were a deadly weapon
and that, in the manner of their use or intended use on that day, they were
capable of causing death or serious bodily injury. 

The
trial court found that A.C. had engaged in delinquent conduct as alleged.&nbsp; After hearing evidence at the disposition
hearing, which we will discuss below in our factual sufficiency analysis, the
trial court ordered A.C. committed to TYC for six years.

III.&nbsp;
Factual Sufficiency

All
of A.C.=s
challenges focus on the factual sufficiency of the evidence to support the
findings upon which the trial court based its commitment decision after the
disposition hearing.

A.&nbsp; Standard of Review








A
juvenile court has broad discretion to determine a suitable disposition for a
child who has been adjudicated as having engaged in delinquent conduct. In
re C.C.B., No. 02-08-00379-CV, 2009 WL 2972912, at *3 (Tex. App.CFort
Worth Sept. 17, 2009, no pet.) (mem. op.).&nbsp;
An abuse of discretion occurs when the juvenile court acts unreasonably
or arbitrarily without reference to any guiding rules or principles.&nbsp; Id.&nbsp;
In appropriate cases, factual sufficiency is a relevant factor in
assessing whether the trial court abused its discretion.&nbsp; See In re C.J.H., 79 S.W.3d 698, 702
(Tex. App.CFort
Worth 2002, no pet.). Merely because a trial court may decide a matter within
its discretion in a different manner than an appellate court would in a similar
circumstance does not demonstrate that an abuse of discretion has
occurred.&nbsp; Id.

An
abuse of discretion does not occur when the trial court bases its decision on
conflicting evidence.&nbsp; C.C.B.,
2009 WL 2972912, at *3.&nbsp; Further, an
abuse of discretion does not occur as long as some evidence of substantive and
probative character exists to support the trial court=s
decision.&nbsp; C.J.H., 79 S.W.3d at
702.&nbsp; In conducting the review, we engage
in a two‑pronged analysis, (1) did the trial court have sufficient
information upon which to exercise its discretion, and (2) did the trial court
err in its application of discretion?&nbsp; C.C.B.,
2009 WL 2972912, at *3.&nbsp; 

We
apply the civil standard of review when reviewing the factual sufficiency of
the findings at the disposition phase.&nbsp;
C.J.H., 79 S.W.3d at 703.&nbsp;
That is, when reviewing an assertion that the evidence is factually
insufficient to support a finding, we set aside the finding only if, after
considering and weighing all of the evidence in the record pertinent to that
finding, we determine that the evidence supporting the finding is so weak, or
so contrary to the overwhelming weight of all the evidence, that the answer
should be set aside and a new trial ordered. &nbsp;Pool v. Ford Motor Co., 715 S.W.2d 629,
635 (Tex. 1986) (op. on reh=g); Garza
v. Alviar, 395 S.W.2d 821, 823 (Tex. 1965); In re King=s
Estate, 150 Tex. 662, 244 S.W.2d 660, 661 (1951).








Section
54.04(i) of the family code sets out the mandatory findings that the trial
court must make to commit a child to TYC.&nbsp;
C.J.H., 79 S.W.3d at 704. It thus informs the trial court=s
discretion.&nbsp; Id.&nbsp; Section 54.04(i) states that if the trial
court commits the child to TYC, it shall include in its order its determination
that:

(A)
it is in the child=s best interests to
be placed outside the child=s home; 

&nbsp;

(B)
reasonable efforts were made to prevent or eliminate the need for the child=s removal from the
home and to make it possible for the child to return to the child=s home; and 

&nbsp;

(C) the child, in the child=s
home, cannot be provided the quality of care and level of support and
supervision that the child needs to meet the conditions of probation[.]

Tex. Fam. Code Ann. '&nbsp;54.04(i)(1)(A)B(C)
(Vernon Supp. 2009).&nbsp; A.C. challenges all
three findings in addition to the trial court=s
finding that it was in A.C.=s
and society=s
best interests to commit her to TYC because she needed a highly structured
environment with constant supervision and control.

B.&nbsp; Disposition Hearing Evidence

The
State rested after the trial court admitted Petitioner=s Exhibit
1, a social history containing A.C.=s
psychological evaluation by Dr. Raymond F. Finn, Ph.D.,[3]
and Petitioner=s
Exhibit 2, an updated victim court report.&nbsp;
Mike Jennings, a Tarrant County Juvenile Probation officer who had been
supervising A.C. for the three months before the disposition hearing, A.C.=s
mother B.J., and A.C. testified at the hearing. 








1.&nbsp; A.C.=s
Pre-March 23 Incidents and Mental Health

A.C.
had a prior referral involving an assault-family violence charge in 2008[4]
from shoving or hitting her mother when B.J. tried to prevent her from leaving
the house.&nbsp; Jennings testified that the
police were called, but A.C. was not taken into custody because she had already
left.&nbsp; He stated, AWe
offered the family to come in and do the medi[ation]. The mother declined
mediation and stated that she did not wish to prosecute. She did not feel that
it was something that she could not handle, and so she signed a declaration of
non-prosecution.@&nbsp; Jennings admitted that at the time of that
incident, A.C. was able to leave the home against her mother=s
wishes.&nbsp; B.J. testified that her fight
with A.C. occurred because A.C. wanted to leave and B.J. tried to stop her. She
and A.C. fought in the hallway Afor
a little bit@ and
then she called the police because A.C. left.&nbsp;
During that incident, A.C. scratched B.J. on her face. B.J. testified that
this happened before they realized that A.C. was bipolar.








A.C.
also has a history of fighting at school, and she has some learning
disabilities, which Dr. Finn predicted would find A.C. continuing to experience
school as frustrating, making her Aprone
to acting out.@&nbsp; According to information contained in Dr.
Finn=s
report, A.C. repeated the second grade because she was academically behind
other students when she moved from California to Texas.&nbsp; A.C. repeated the seventh grade Adue
to frequent suspensions for such behavior as dress code violations and fighting
with other students.@&nbsp; A.C. testified about potentially having to
repeat the eighth grade as well.

A.C.=s
first hospitalization for mental issues occurred in October 2008 after a
physical argument with her step-father; she was hospitalized for eight days and
diagnosed with major depressive disorder.&nbsp;
She received a prescription for a sedative and for Zoloft, an
antidepressant.&nbsp; In January 2009, while
on these medications, A.C. tried to run away over a dispute with her mother
about money sent to A.C. from her father.&nbsp;
When B.J. brought her back home, A.C. kicked in the front door and
threatened to kill both herself and her mother.

A.C.
cut herself with an eyebrow cutter after B.J. called the police.&nbsp; B.J. had the police take A.C. to John Peter
Smith hospital (JPS) when she learned that A.C. had taken Aa
whole bunch of different medications and tried to commit suicide that day.@[5]&nbsp; B.J. testified that she had A.C. admitted to
JPS, that they had to Ashoot charcoal down her
throat,@ and
that A.C. was in the ICU for around a week.&nbsp;
Later that month, A.C. was transferred to the University Behavioral
Health Hospital of Denton (UBH), diagnosed with bipolar disorder, and
prescribed Abilify, an antipsychotic drug, in addition to Zoloft; the sedative
was discontinued.








B.J.
testified that before the March 23, 2009 incident, A.C.=s
medication had been switched from Abilify to Lithium.[6]&nbsp; Dr. Finn=s
report reflects that A.C.=s medication was changed
after she Agot
into an argument with a parent on school grounds.@&nbsp; The March 23 incident occurred on the Monday
after Spring Break in a classroom containing around twenty students.&nbsp; Around a week before, on the Friday before
Spring Break and not long after A.C.=s
medication had been changed, A.C. called B.J. from school. &nbsp;B.J. said A.C. was crying and told B.J. that
she did not know why she was crying and that she had been in an altercation
with D.H. in the lunchroom.&nbsp; B.J.
specified that A.C. told her that D.H. had been trying to get her to fight with
her in the lunchroom at school.

A.C.
testified that she deserved a chance at probation because she knew what she had
done to D.H. was wrong.&nbsp; She elaborated,
stating

But
then again, I just do not know what happened at the time as I was stabbing
her.&nbsp; I do admit that I did pick up the
scissors and I then [sic] that I was going to stab her if she touched me.&nbsp; But that was only because, you know, I was
always, you know, getting in trouble.&nbsp;
And I only had one more chance and they were going to put me back in the
eighth grade.[7]&nbsp; So I was trying to stay out of as much
trouble as I could.








And, you know, she was like picking a fight
with me.&nbsp; And I was like, [D.H.], if you
touch me, I was going to stab her.&nbsp; And I
didn=t think she was going
to really try to fight me because she kept on coming, after I even got the
scissors she still came at me. But that was just to scare her, but it really
didn=t.

&nbsp;

A.C. testified that she
remembered feeling really scared that D.H. was going to beat her up, that she
had grabbed the scissors to scare D.H., that she had not intended to hurt D.H.,
and that she wanted to kill herself when she learned how badly she had hurt
D.H.Cone
of her stabs nicked D.H.=s heart.&nbsp; A.C. testified that before her current
medication, she Awould just go bizarre and
just chuck things, hit people.@

2.&nbsp; A.C.=s
Post-March 23 Incidents and Mental Health

On
March 26, 2009, three days after she stabbed D.H., A.C. was released from
detention for her mother to take her to UBH because she tried to cut herself.[8]&nbsp; At some point that day, she acquired a bottle
of pills, took an excessive amountCaccording
to A.C.=s
testimony, because she wanted to kill herself after she found out how badly
D.H. had been injuredCand had to be taken to the
emergency room to see if her stomach needed to be pumped.&nbsp; The doctor increased her Lithium dose, and
the trial court allowed her to return home on an electronic monitor.








At
the time of the disposition hearing, A.C. was seeing a psychiatrist once a
month and was taking Zoloft and an increased dosage of Lithium.&nbsp; B.J. testified that since A.C. has been on
her medication, she has not tried to assault B.J. or go against anything B.J.
tells her to do and that the Lithium seems to be working.&nbsp; A.C. testified that she had not discussed her
March 26, 2009 suicide attempt with her doctors because A[she]
just got out of the jail thing or whatever.&nbsp;
So [she] didn=t really want a lot of
people to know.@

At
the time of the disposition hearing, A.C. was taking Zoloft twice a day, and
she testified that now, when she gets angry, she does not Ago
off like how [she] used to@ and
that the medicine has helped her gain control of her impulses.&nbsp; She stated that she always takes her medicine
in the way that she is supposed to and that even if she did not want to take
it, B.J. would make sure that she takes it.&nbsp;
She apologized to D.H. at the disposition hearing, stating

I
know what I did was wrong and you can take it however because I=m pretty sure you won=t forgive me because
of the fact that, you know, you almost died.&nbsp;
And if somebody would have stabbed me, you know, I probably would be
real mad too.&nbsp; But, you know, I am sorry
not only to you but your family and your friends because the fact that I almost
took you away from your loved ones.&nbsp; And
if that would have happened to like one of my families, I wouldn=t know what I would
do.&nbsp; And this is notCI=m not putting a show
on in front of the Judge or anybody.&nbsp; I
mean, I really do want you guys to forgive me because I know what I did was
wrong and I=m so sorry.

&nbsp;








Jennings testified that he
had not seen A.C. exhibit any aggressive behavior towards anyone while he
supervised her.&nbsp; B.J. testified that A.C.
would be a good candidate for probation A[b]ased
[on] her newly being bipolar and us trying to find out what medications work
with her, I think that would be the best thing for her so that I can get the
proper care that she needs.@

In
A.C.=s
psychological evaluation, Dr. Finn observed that some of A.C.=s
test responses Asuggest a relatively low
probability of aggressive behavior and more acting out generally.&nbsp; [His] impression is that this behavior is
driven more by biological based problems of emotional and behavioral control
and extreme temper outbursts with little or no provocation.@&nbsp; However, he also noted in part of the report
that A.C. Adid
not express any concern over her victim but stated that she is worried about &gt;going
to jail,=@ and
that A[A.C.]
reported some guilt about stabbing her victim but her test responses also
suggest concern about avoiding punishment.@ 

3.&nbsp; Electronic Monitor and
Other Services








Jennings
testified that the only services A.C. had received were supervision by him and
an electronic monitor as an alternative to being kept at the detention
center.&nbsp; A.C. had one violation of the
electronic monitor, but he stated that it Apossibly
could have been [his] fault@
because A.C. had been at the detention center and he might not have given the
family proper time to get back home.&nbsp;
Jennings indicated that there were a lot of programs that could
potentially benefit A.C. but that A.C. had had very limited interaction with
his department and had not yet had the opportunity to participate in many of
the programs.&nbsp; He specifically mentioned
the Family Partnership Program (FPP), a specialized caseload for juveniles in
which most of the clients take mental health medications, as a possibility for
A.C.&nbsp; He stated that he thought if A.C.
were allowed to remain in the community, a specialized caseload would
definitely be in her best interest.

A.C.
testified that if the trial court would give her probation, she would take
advantage of any program offered to her, including anger management and
counseling.

4.&nbsp; A.C.=s
Ability to Follow Instructions and Rules

Jennings
testified, AI
think for the most part [A.C.] obeys her mother=s
rules.@&nbsp; He described as follows one incident while he
was supervising her in which he had to talk with A.C. about going to school:

The
only other concern is the mother called me one time; I guess [A.C.] didn=t want to go to
school.&nbsp; And it was reported to me,
basically, that she had did some work on her hair and I guess she ended up
cutting some spots out of her hair and she didn=t feel that she
wanted to go to school that day.&nbsp; So her
mother called me because she was concerned that [A.C.] would be in violation of
her electronic monitor.&nbsp; I was able to
calmCI was able to talk to
[A.C.] over the phone and in person.&nbsp; I
didn=t have anything
scheduled at that time, so I went out to the house.&nbsp; And she did end up going to school.&nbsp; But it was something where, basically, she
would have been in violation of the Court=s order of going to school every day and she
was refusing initially.&nbsp; But she was able
to turn around and did participate and go to school as she was instructed to.[9]

&nbsp;








He stated that the other
concern involved A.C.=s mother calling him about Asomething
about [A.C.] getting a cell phone that she was not supposed to have and just
having an argument with her sister about that,@ but
he characterized it as Anothing more than what would
normally transpire between teenagers or child and parent relation.@&nbsp; Jennings testified that there were no
problems with A.C. that were not easily solved and stated, AI
think [A.C.] could complete probation if she was given an opportunity.@

B.J.
testified that A.C. follows the rules at home most of the time, but she
qualified this, stating, AA lot of times that she don=t, I=ll
just let her go and just do it anyhow.&nbsp;
But most of the time, she does listen to me.@&nbsp; She testified that there was no need to set a
curfew because she did not let A.C. go anywhere except with relatives.&nbsp; A.C. testified that she would follow the
rules of probation and the directions given by her parents, the probation
department, and the court.

On
March 26, 2009, before releasing A.C. from detention to go to UBH, the trial
judge indicated that she did not want A.C. to have access either to the
internet or to get on MySpace to communicate with anyone about the stabbing
incident.&nbsp; Jennings testified, AShe
had explicit directions that she have no internet and noCactually,
no My[S]pace.@&nbsp; But a little over two weeks later, around
12:45 a.m., A.C. logged onto MySpace, contrary to the trial judge=s
specific orders.&nbsp; A.C. testified that she
snuck her mother=s internet-accessible phone
out of her mother=s purse while B.J. was
asleep.&nbsp; She gave the following
explanation on cross-examination:

Q.&nbsp; . . . And you knew at that time, I=m assuming, that
Judge Brown had specifically told you don=t get back on My[S]pace?

&nbsp;

A.&nbsp; Yeah, I know that.

&nbsp;








Q.&nbsp; Well, can you tell us why you did it?

&nbsp;

A.&nbsp; I just felt like I just had to
apologize.&nbsp; Like, I don=t know why. I just
had to.&nbsp; Even if that meant that I was
violating my probation or whatever it=s called, I just thought I had to apologize
to her because, you know, people who don=t even know me already think I=m a bad person.

&nbsp;

Q.&nbsp; Well, if you think something=s important, if there=s something you have
to do, do you feel like you need to do it even if it=s against the Judge=s orders?

&nbsp;

A.&nbsp; No, not really.&nbsp; It depends.&nbsp;
Like this right here, with the apologizing, I just thought that I really
had to apologize to her.

On redirect, A.C. testified
that she knew she had to follow court orders, that she would follow an order
not to use the internet again except for educational purposes, and that she
would delete her MySpace account, which she was already planning to do.

5. &nbsp;A.C.=s
Support Network and Supervision

Jennings
testified that he believed A.C.=s
family was able to provide support and adequate supervision in the home.&nbsp; With regard to a support network and her
family, B.J. testified that A.C. had Atons
and tons of relatives@ nearby, as well as A.C.=s
stepfather, B.J., and her fourteen-year-old sister.&nbsp; A.C. described her family as Athe
only friends I=ve
got,@
stated that they were always there for her, and stated that she felt like she
had a strong support network to help her follow the rules, terms, and
conditions of probation.&nbsp; Dr. Finn stated
in his report that A[h]er parents appear
supportive and are likely to comply with treatment and probation conditions.@

6.&nbsp; Plans for A.C.








B.J.
testified that A.C. had been sentenced to attend the Juvenile Justice
Alternative Education Program (JJAEP) and that after she completed JJAEP, she
was not going to let A.C. go back to public school.&nbsp; She stated that she was looking for something
a little more individually-oriented for A.C.&nbsp;
A.C. testified that she was going to try to go to a Achart
school@
because there were fewer students there and Ait
would be like less drama for [her].@

B.J.
testified that the public would not be in danger if A.C. were allowed to remain
in the community and that the current level of medication that A.C. was on had
helped tremendously in controlling A.C.=s
anger and impulses.&nbsp; She stated that the
psychotherapy that A.C. was receiving once a month was also helping so she
intended to continue that.&nbsp; And she
stated that she thought A.C.=s
bipolar diagnosis was something that could be controlled and that if she could
not do it, Athen,
of course, [she=d] get the proper help that
[A.C.] needs as far as mental hospitals, psychiatrist, therapist, or whatever
it takes to get the best plan for her to get her stuff under control.@ 

7.&nbsp; Disposition Order Findings

In
its disposition order, the trial court made the following findings:

The Court finds [that] it is in the child=s best interest to be
placed outside the child=s home.&nbsp; The Court also finds that reasonable efforts
were made to prevent or eliminate the need for the child=s removal from the
home and to make it possible for the child to return to the child=s home and the child,
in the child=s home, cannot be
provided the quality of care and the level of support and supervision that the
child needs to meet the conditions of probation.








It
further appears to the Court that the best interest of the child and the best
interest of society will be served by committing [A.C.] TO THE CARE, CUSTODY
AND CONTROL OF THE TEXAS YOUTH COMMISSION for the following reason:&nbsp; the child needs a highly structured
environment with constant supervision and control. 

C.&nbsp; Analysis&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

A.C.
does not dispute that disposition was required, only the nature of the
disposition ordered.

1.&nbsp; Best Interest

In
her first issue, A.C. argues that the trial court=s
finding that it is in her best interest to be placed outside her home is directly
contradicted by Jennings=s testimony that the
probation department could help A.C. and protect the community.&nbsp; She acknowledges 

[i]f
[her] bipolar condition were left untreated, if there was evidence effective medications
had not yet been found, or if there was evidence A.C. did not take her
medications, then removal from the home might be warranted to protect A.C. from
herself and to protect her family and the community from A.C.

&nbsp;








But, A.C. argues, the
disposition hearing evidence showed the contraryCthat
effective medications had been found and that she was taking them.&nbsp; She also refers to Jennings=s
testimony that Lithium could have some severe side effects as tending to show
that her medication might have initially contributed to her unstable conduct
because she was diagnosed as bipolar in January and her medications were not
properly adjusted until after the offense in March.&nbsp; And A.C. refers to her mother=s
testimony that she had not had any problems with A.C. since A.C. had been on
her medication and that she would continue to do whatever was required to keep
A.C. out of trouble.

Notwithstanding
the evidence above, however, in light of the disposition hearing evidence, the
trial court could have questioned whether B.J. could effectively manage A.C.,
even with the support of the probation department and her extended family.&nbsp; See, e.g., In re C.G., 162 S.W.3d 448,
452 (Tex. App.CDallas
2005, no pet.) (AThe trial judge heard the
parents testify.&nbsp; She could well have
concluded that the parentsCdespite
their good intentionsCunderestimated appellant=s
problems.&nbsp; She could also have concluded
that appellant=s
parents could not provide the highly structured and supervised setting C.G.
required, according to both psychological assessment and probation officer.@). 








Given
A.C.=s
turbulent history and her own testimony about waiting until B.J. fell asleep to
access her MySpace account in violation of the trial court=s
specific order, the determination of whether to grant probation rested
primarily on whether the trial court believed that B.J. and A.C.=s
support network would be able to effectively and consistently monitor A.C.=s
behavior and reliably ensure that A.C. stayed on her medication.&nbsp; See id. &nbsp;A.C.=s
own testimony about how, before she was on her medicine, she had been able to Aget
away with@
whatever she wanted to do could have led the trial court to conclude that B.J.
might eventually be less vigilant than necessary to protect the public.&nbsp; See id. &nbsp;And the violence of the crime A.C. committed
against D.H. and her history of assaulting family members cannot be minimizedCthe
best interests of children who engage in serious and repeated delinquent
conduct are superseded to the extent they conflict with public safety.[10]&nbsp; See In re J.P., 136 S.W.3d 629, 632B33
(Tex. 2004) (referencing section 51.01 of the family code, which sets out the
purpose of the juvenile justice code).&nbsp;
Under the circumstances presented here, we cannot say that the trial
court abused its discretion by concluding that it was in A.C.=s
best interest to be placed outside her home or that the evidence supporting the
finding is so weak or so contrary to the overwhelming weight of all the
evidence that it should be set aside.&nbsp; See
Pool, 715 S.W.2d at 635; C.C.B., 2009 WL 2972912, at *3.&nbsp; We overrule A.C.=s
first issue.

2.&nbsp; Reasonable Efforts








In
her second issue, A.C. relies on Jennings=s
testimony that he thought that if she got into the Family Partnership Program,
she could benefit from it to show that the evidence is factually insufficient
to support the trial court=s
finding that reasonable efforts were made to prevent or eliminate the need for
her removal from her home.&nbsp; She contends
that she had not yet had the opportunity to participate in any type of
counseling, that the trial court did not give her the opportunity to
participate in the FPP, and that only if she had not been accepted into the FPP
or if she had unsuccessfully participated in the FPP could the trial court have
found that reasonable efforts had been made to prevent the need for removal.

A.C.
primarily bases her argument on Jennings=s
mere speculation that she could get into the FPP.&nbsp; That is, his specific testimony was 

Q.&nbsp; You mentioned the specialized caseload
FPP.&nbsp; And that is specifically for
juvenile respondents with mental health issues?

&nbsp;

A.&nbsp; Yes.

&nbsp;

Q.&nbsp; Do you feel [A.C.] would be an appropriate
candidate for FPP?

&nbsp;

A.&nbsp; I feel that that=s
something that they would have to determine if she met the qualification.&nbsp; But based on my previous experience, I feel
that she could qualify potentially to be on their caseload. [Emphasis
added.]








Moreover,
although A.C. complains that she had not yet had the opportunity to participate
Ain
any type of counseling,@ at the time of the
disposition hearing, A.C. was seeing a psychiatrist once a month.&nbsp; She admitted that she had not discussed her
March 26, 2009 suicide attempt with her doctors.&nbsp; And while released on an electronic monitor
into her mother=s custody, A.C. violated the
trial court=s
order not to access the internet.&nbsp; Compare
In re J.D., Nos. 04-01-00748-CV, 04-01-00749-CV, 2002 WL 31174477, at *2
(Tex. App.CSan
Antonio Oct. 2, 2002, no pet.) (AReasonable
efforts had been made to prevent the need for removal because J.D. had been
allowed to remain in his home on electronic monitoring; however, those efforts
were unsuccessful [because he committed an assault while on the electronic
monitoring].@), with
In re A.D., 287 S.W.3d 356, 367B68
(Tex. App.CTexarkana
2009, pet. denied) (concluding that there was no evidence of reasonable efforts
when A.D. had never previously been referred to authorities for any offense and
he was placed in confinement shortly after committing intoxication
manslaughter, where he remained until confined to TYC).&nbsp; The trial court could have concluded that,
given the violent circumstances of this case, A.C. had received reasonable
efforts to prevent her removal but that they were unsuccessful, and we cannot
say on the facts of this case that this constituted an abuse of
discretion.&nbsp; See Pool, 715 S.W.2d
at 635; C.C.B., 2009 WL 2972912, at *3.&nbsp;
We overrule A.C.=s second issue.

3.&nbsp; Meeting Conditions of Probation

A.C.
relies on her mother=s testimony to show that she
had the quality of care and the level of support and supervision needed to meet
the conditions of probation and directs us to a portion of Dr. Finn=s report
in which he stated, A[A.C.=s]
parents appear supportive and are likely to comply with treatment and probation
conditions.@&nbsp; She reiterates that Jennings testified that
he thought her family provided a good support system and provided adequate
supervision, that she herself testified that she thought she had a strong
support network, and that her only violations mentioned at the disposition
hearingCone
of which Jennings attributed to himselfChave
not been repeated.








A.C.
refers us to her mother=s statement that A.C. followed
her rules Amost
of the time.@&nbsp; However, given that A.C. stabbed and almost
killed another child, the trial court could have determined that Amost
of the time@ was
insufficient to ensure that A.C. met the conditions of probation for the public=s
protection.&nbsp; Additionally, A.C. herself
testified that whether she followed the trial court=s
orders would depend on if she felt something was important enough not to,[11]
although she also testified that she would follow the trial court=s
orders and conditions of probation.








And
while Jennings gave positive testimony about A.C. and her family, he also
testified that before the March 23 stabbing, he had offered mediation to A.C.
and B.J. after A.C. assaulted B.J., but B.J. declined it because she Adid
not feel that it was something that she could not handle,@
even though A.C. was able to leave home against B.J.=s
wishes.&nbsp; While this occurred before A.C.
was placed on medication, B.J.=s
inability to effectively assess the situation and her child=s
precarious mental state between August 2008 and March 2009, despite repeated
hospitalizations, may have contributed to the March 23 stabbing and the
necessity of the disposition hearing.&nbsp; See,
e.g., C.G., 162 S.W.3d at 453 (AAppellant=s
parents did testify to their willingness to create more structure for appellant=s
days and to monitor his conduct more closely. We have no basis for doubting the
parents=
sincerity concerning their desire to help their son.&nbsp; Appellant himself testified that he had
learned his lesson and that he could live at home and comply with the
conditions of probation. However, the trial judge was in the best position to
determine appellant=s sincerity and credibility
and to determine whether he was likely to successfully follow through with the
conditions of probation if he lived at home.@). 

Under
the circumstances presented here, we cannot say that the trial court abused its
discretion by concluding that A.C. lacked the quality of care and level of
support and supervision needed to meet the conditions of probation in her home
or that the evidence supporting the finding is so weak or so contrary to the
overwhelming weight of all the evidence that it should be set aside.&nbsp; See Pool, 715 S.W.2d at 635; C.C.B.,
2009 WL 2972912, at *3.&nbsp; We overrule A.C.=s
third issue.

4.&nbsp; Highly Structured Environment and Constant
Supervision and Control

In
her fourth issue, A.C. admits that the trial court=s
finding that she needed a highly structured environment with constant
supervision and control supported the reason for a disposition.&nbsp; However, she argues that the finding does not
support why commitment to TYC was necessary if she could otherwise get the
structure and supervision she needed without being removed.&nbsp; She contends that if any of the previous
findings fail, this finding must fail as well, incorporating her earlier
arguments by reference.&nbsp; For the same
reasons that we have already set forth above in addressing her first three
issues, we conclude that the trial court did not abuse its discretion by finding
that commitment to TYC was necessary because the disposition hearing testimony
could have led the trial court to reasonably conclude that A.C. lacked the
structure and supervision she needed.&nbsp;
Therefore, we overrule A.C.=s
final issue.








IV.&nbsp;
Conclusion

Having
overruled each of A.C.=s four issues, we affirm the
trial court=s
judgment.

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp; MCCOY, DAUPHINOT, and GARDNER, JJ.

&nbsp;

DELIVERED:
April 29, 2010











[1]See Tex. R. App. P.
47.4.





[2]MySpace is an
interactive social-networking website.&nbsp; See
In re K.E.L., No. 09-08-00014-CV, 2008 WL 5671873, at *3 n.3 (Tex. App.CBeaumont Feb. 26,
2009, no pet.); see also Draker v. Schreiber, 271 S.W.3d 318, 326 (Tex.
App.CSan Antonio 2008, no
pet.) (Stone, J., concurring) (observing, in a vice-principal=s suit involving a
false MySpace account set up by students, that A[t]he internet
capabilities of modern society present numerous opportunities for individuals
to engage in extreme and outrageous conduct that can produce severe emotional
distress@).





[3]AAt the disposition
hearing, the juvenile court . . . may consider written reports from probation
officers, professional court employees, or professional consultants in addition
to the testimony of witnesses.@&nbsp; Tex. Fam. Code Ann. '&nbsp;54.04(b).





[4]It is unclear from
the record whether this assault occurred in March, June, or August.





[5]The medications
belonged to B.J.&nbsp; During her
psychological evaluation, A.C. acknowledged taking the pills because A[she] was trying to
make [her] mom feel bad.@





[6]Jennings testified
that Lithium is a drug that Aif you=re not taking it
exactly as prescribed does have some severe side effects,@ and that as A.C. had
just had the dosage increased the week before the March 23 stabbing, it&nbsp; would be possible that Athe level of her
blood screen had not equaled out.@&nbsp;
According to Dr. Finn=s report, Lithium is
a mood stabilizer.





[7]On cross-examination,
A.C. elaborated about her concern about being put back in the eighth grade,
stating that she had been in trouble for

&nbsp;

just not wanting to
do my work.&nbsp; You know, that was before I
was on my medicine.&nbsp; I really didn=t listen to no
one.&nbsp; You know, I thought I could do
whatever and, you know, get away with it.&nbsp;
And I=ve been doing that
for so long that I was getting away with it at school.

&nbsp;





[8]The social history
included in A.C.=s psychological
evaluation reflects that she was to be transported to UBH to be assessed for
psychotropic medication and suicide ideation concerns.





[9]A.C. described the
incident as, AI had did some things
to my hair and I was embarrassed and I didn=t want to go to school.@





[10]The trial judge
observed immediately before making the challenged findings, AI think we=re very fortunate
that the victim in this case did not die, from what I=ve heard.&nbsp; And you are also very fortunate because you
could be here for murder instead of aggravated assault with a deadly weapon.@&nbsp; She indicated that she was also concerned
about the other family violence issues and A.C.=s mental health.





[11]With regard to
violating the trial court=s order not to access
MySpace, A.C. testified that her motivation was that she felt like she had to
apologize to D.H. on MySpace Abecause, you know,
people who don=t even know me
already think I=m a bad person.@&nbsp; Dr. Finn reported that A.C.=s test results
suggested Aan unusually strong
tendency to look to other people as sources of emotional gratification.@







